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                                             UNITED STATES DISTRICT COURT
                                                 Southern District of Florida

                                     CASE NO.:

 DISABILITY ADVOCATES AND
 COUNSELING GROUP, INC.,

             Plaintiffs,

 vs.

 ROSS DRESS FOR LESS, INC.,

       Defendant.
 _____________________________/

                                                                   COMPLAINT

             Plaintiff , Disability Advocates and Counseling Group, Inc. (herein referred to as“Plaintiff”,

 hereby sues defendant, ROSS DRESS FOR LESS, INC. (herein referred to as “Defendant”), for

 declaratory and injunctive relief and attorneys’ fees, litigation expenses and costs, pursuant to 42

 U.S.C. § 12181, et seq. (“Americans With Disabilities Act” or “ADA”).

                                                                 JURISDICTION

             1.          The Court has original jurisdiction over this action pursuant to 28 U.S.C. §§1331 and

 1343 for Plaintiff’s claims arising under 42 U.S.C. §§12181, et seq., based on Defendant’s violations

 of Title III of the Americans With Disabilities Act (see also 28 U.S.C. §§2201 and 2202).

                                                                       PARTIES

             2.          Plaintiff, Disability Advocates and Counseling Group, Inc. (“DACG”) is a non-profit

 corporation organized and existing under the laws of the State of Florida. DACG’s members are

 individuals with disabilities as defined by and pursuant to the ADA. DACG has several purposes.

 One of those purposes is representing its members to assure that public accommodations and



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 commercial premises are accessible to and useable by its members presently and in the future, to

 assure its members that they will not be excluded from participation in or be denied the benefits of

 the services, programs or activities of public accommodations, and to assure its members that they

 are not discriminated against because of their disabilities. DACG also assists in and/or provides

 speakers for disability expositions and disability related seminars. DACG also provides counseling

 to individuals with disabilities and their families regarding their particular disabilities, information

 concerning resources, aid and assistance which is available to individuals with disabilities, and

 discussions and information on difficult and personal subjects affecting the disabled. DACG,

 through the disability expositions and seminars, also provides community awareness of disability

 issues, general advocacy for individuals with disabilities, and information on obtaining government

 grants for the disabled or their benefit. DACG, when funds are available, also makes donations to

 assist the disabled or on their behalf DACG and its members have suffered direct and indirect injury

 as a result of Defendant’s actions or inaction described herein, and will continue to suffer injury and

 discrimination without the relief provided by the ADA as requested herein. DACG has also been

 discriminated against because of its association with its members and their claims, and because its

 resources (both time and money) have been impaired and not been able to go to those activities due

 to the resources expended (both time and money) on this matter in the attempt to end the

 discrimination by the Defendant.

          3.          Plaintiff’s members have a desire to and an interest in traveling throughout the

 community and engaging in daily activities free of barriers to access, as members of the able-bodied

 community are presently able to do. As such, they have a personal interest in and seek to enforce

 compliance with the ADA and to end discrimination against themselves and other persons with

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 disabilities resulting from ADA violations. Furthermore, Plaintiff’s members also seek enforcement

 of and compliance with the ADA and to end discrimination against themselves and all other persons

 with disabilities, so that they and all other persons with disabilities may avail themselves of public

 accommodations and facilities, services and goods which are available to the able bodied

 community, without discrimination caused by illegal barriers to access.

          4.          Completely independent of their personal desire to have access to public

 accommodations free of illegal barriers to access, Plaintiff’s members also act as a “testers” on

 behalf of DACG and its members, for the purpose of discovering, encountering and engaging

 discrimination against the disabled in public accommodations. When acting as a “tester,” Plaintiff’s

 members employ a routine practice. They personally visit the public accommodation where they

 knows or where it has been reported to them that illegal barriers to access exist; they engage all of

 the illegal barriers to access at the subject premises, or at least all of those they are able to access;

 and they test all of those barriers to access to determine whether and the extent to which they are

 illegal barriers to access; they proceed with legal action to enjoin such discrimination; and they

 subsequently return to the premises to verify its / their compliance or non-compliance with the ADA

 and to otherwise use the public accommodation as members of the able-bodied community are able

 to do. Independent of their other intended subsequent visits, Plaintiff’s members also intend to visit

 the subject premises annually to verify their compliance or non-compliance with the ADA.

          5.          In their capacity as “testers,” when Plaintiff’s members encounter illegal barriers to

 access, as they did here with respect to Defendant’s premises, they engage those barriers to the extent

 they are able. Also, to the extent they are able to do so given the existing barriers to access,

 Plaintiff’s members also avail themselves and/or attempt to avail themselves to the subject public

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 accommodations as a whole (including all public areas thereon and all services, goods, facilities and

 amenities offered thereat). They do so for the purpose of using those public accommodations and

 also to establish discrimination against themselves and the disabled due the illegal barriers to access

 and the resulting denial of access to the property and the services, goods, facilities and amenities

 offered thereat.

          6.          In this instance, one or more of Plaintiff’s members, in their individual capacity and

 independently as a “tester,” personally, and on behalf of Plaintiff;’s members, suffered legal harm

 and legal injury, and they will continue to suffer such harm and injury as a result of the illegal

 barriers to access and Defendant’s ADA violations addressed herein.

          7.          One or more of Plaintiff’s members has attempted to access and use all public areas

 of the subject stores, which are owned, leased and/or operated by Defendant, in the past, but has been

 and will continue to be discriminated against and excluded from proper unobstructed access to and

 use of those facilities due to Defendant’s failure to remove illegal barriers to access and comply with

 the ADA as set forth herein. Additionally, Defendant has failed to afford Plaintiff’s members the

 opportunity to participate in and benefit from the full and equal enjoyment of the goods, services,

 facilities, privileges, advantages and accommodations owned, leased and/or operated by Defendant

 and/or has relegated Plaintiff’s members to receiving different or separate benefits which are not

 equivalent to those offered by Defendant to able-bodied patrons. Plaintiff’s members specifically

 intend to gain access into and use the subject stores owned, leased and/or operated by the Defendant

 in the future, as members of the able-bodied community are presently able to do, but they have been

 and will continue to be denied such access and use as a result of Defendant’s failure to remove illegal

 barriers to access and comply with the ADA as set forth herein, and are at serious risk of suffering

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 further and irreparable injury without the immediate relief requested herein. Defendant’s ADA

 violations are continuing in nature and will continue indefinitely into the future and, as a result, will

 continue to prelude access by Plaintiff’s members.

          8.          Defendant, Ross Dress for Less, Inc is a foreign corporation which is authorized to

 transact and which transact business throughout Florida. Defendant is the owner, lessee, lessor

 and/or operator of the real property and improvements which are the subject of this action,

 commonly referred to as Ross Dress for Less stores, at the following locations:

                      a)          835 West Cortez Road, Bradenton, Florida
                      b)          135 Brandon Town Center Drive, Brandon, Florida
                      c)          1631 Del Prado Boulevard, Cape Coral, Florida
                      d)          2733 Gulf to Bay Boulevard, Clearwater, Florida
                      e)          4445 East Commons Drive East, Destin, Florida
                      f)          8022 Mediterranean Drive, Estero, Florida
                      g)          3254 Forum Boulevard, Fort Myers, Florida
                      h)          10013 Gulf Center Drive, Fort Myers, Florida
                      i)          13300 S. Cleveland Avenue, Fort Myers, Florida
                      j)          99 NE Eglin Parkway, Fort Walton Beach, Florida
                      k)          5054 North Airport Pulling Road, Naples, Florida
                      l)          419 East 23rd Street, Panama City, Florida
                      m)          5100 N. 9th Avenue, Pensacola, Florida
                      n)          8102 North Davis Highway, Pensacola, Florida
                      o)          6569 South Tamiami Trail, Sarasota, Florida
                      p)          11201 Park Boulevard, Seminole, Florida
                      q)          4860 North Park Street, St. Petersburg, Florida
                      r)          1233 Apalachee Parkway, Tallahassee, Florida
                      s)          2415 North Monroe Street, Tallahassee, Florida
                      t)          4124 Tamiami Trail South, Venice, Florida


 (the “buildings” or “premises”).


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                                                            INTRODUCTION

          9.          On July 26, 1990, Congress enacted the Americans With Disabilities Act (“ADA”),

 42 U.S.C. §§12101, et seq.

          10.         Congress found, among other things, that:

                      i.          some 43,000,000 Americans have one or more physical or mental disabilities,
                                  and this number is increasing as the population as a whole is growing older;

                      ii.         historically, society has tended to isolate and segregate individuals with
                                  disabilities, and, despite some improvements, such forms of discrimination
                                  against individuals with disabilities continue to be a serious and pervasive
                                  social problem;

                      iii.        discrimination against individuals with disabilities persists in such critical
                                  areas as employment, housing, public accommodations, education,
                                  transportation, communication, recreation, institutionalization, health
                                  services, voting, and access to public services;

                      iv.         individuals with disabilities continually encounter various forms of
                                  discrimination, including outright intentional exclusion, the discriminatory
                                  effects of architectural, transportation, and communication barriers,
                                  overprotective rules and policies, failure to make modifications to existing
                                  facilities and practices, exclusionary qualification standards and criteria,
                                  segregation, and regulation to lesser services, programs, activities, benefits,
                                  jobs, or other opportunities; and,

                      v.          the continuing existence of unfair and unnecessary discrimination and
                                  prejudice denies people with disabilities the opportunity to compete on an
                                  equal basis and to pursue those opportunities for which our free society is
                                  justifiably famous, and costs the United States billions of dollars in
                                  unnecessary expenses resulting from dependency and non-productivity,

 42 U.S.C. §12101(a)(1)-(3), (5) and (9).

          11.         Congress explicitly stated that the purpose of the ADA was to:

                      i.          provide a clear and comprehensive national mandate for the elimination of
                                  discrimination against individuals with disabilities;



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                      ii.         provide clear, strong, consistent, enforceable standards addressing
                                  discrimination against individuals with disabilities; and,

                      iii.        invoke the sweep of congressional authority, including the power to enforce
                                  the fourteenth amendment and to regulate commerce, in order to address the
                                  major areas of discrimination faced day-to-day by people with disabilities.

 42 U.S.C. §12101(b)(1)(2) and (4).

          12.         The congressional legislation provided commercial businesses one and a half years

 from the enactment of the ADA to implement the requirements imposed by the ADA. The effective

 date of Title III of the ADA was January 26, 1992, or January 26, 1993 if Defendant has 10 or fewer

 employees and gross receipts of $500,000 or less. 42 U.S.C. §12181; 28 CFR §36.508(a).

          13.         The premises which are owned, leased to or by, and/or operated by Defendant, and

 which are the subject of this action, include retail stores and related facilities. Those stores and

 facilities must be, but are unable to be, accessed by individuals with disabilities, including the

 Plaintiff’s members. By failing to make its premises and facilities accessible to individuals with

 disabilities or otherwise provide equivalent participation in the benefits and services offered therein,

 Defendant has effectively excluded and otherwise denied Plaintiff’s members the benefits of the

 goods, services, privileges, advantages and/or accommodations and has discriminated against

 Plaintiff’s members on the basis of their disabilities, and Defendant has denied Plaintiff’s members

 the opportunity to participate in and derive the equivalent benefits of the goods, services, privileges,

 advantages or accommodations that are provided to able-bodied individuals.

          14.         Pursuant to 42 U.S.C. §12181(7); 28 CFR §36.104, the buildings and facilities which

 are the subject of this action are public accommodations covered by the ADA and which must be in

 compliance therewith.


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           15.         Defendant has discriminated against Plaintiff’s members by denying them access to,

 and full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

 accommodations of the buildings and by otherwise failing to provide for Plaintiff’s members

 equivalent participation in Defendant’s goods, services, facilities, privileges, advantages and/or

 accommodations, as prohibited by 42 U.S.C. Sec. 12182 et seq., and by failing to remove

 architectural barriers as required by 42 U.S.C. §12182(b)(2)(A)(iv). Plaintiff’s members desire to

 use Defendant’s facilities presently and in the future, but are precluded from doing so as a result of

 Defendant’s ADA violations set forth herein.

           16.         Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department

 of Justice, Office of Attorney General, promulgated federal regulations to implement the

 requirements of the ADA. 28 CFR Part 36.

           17.         Defendant is in violation of 42 U.S.C. 12181 et seq. and 28 CFR 36.302 et seq., and

 is discriminating against the Plaintiff’s members and all other individuals with disabilities, by failing

 to, inter alia,

           i.          provide the requisite number of properly sized and configured accessible parking
                       spaces and adjacent access aisles, and to properly locate those spaces nearest the
                       accessible entrances and so there is an accessible path of access from them to the
                       store which does not require travel through vehicular traffic;

           ii.         provide and maintain an accessible path of access, of at least 36 inches in width,
                       down all aisles and throughout all public areas of the stores;

           iii.        provide the requisite number of, and properly position, emergency notification
                       devices (strobes) in the stores;

           iv.         place and maintain all items to be reachable within the accessible reach parameters;




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          v.          modify the public restrooms to be accessible, including, failing to:

                      a.          provide compliant identifying signage, mounted at the requisite locations;

                      b.          provide the requisite offsets / maneuvering clearances at the doors leading
                                  into the “accessible” toilet stalls;

                      c.          provide accessible door / locking hardware on the “accessible” toilet stall
                                  doors;

                      d.          modify the “accessible” toilet stalls to have the toilet paper dispensers
                                  mounted in the requisite location;

                      e.          position the toilet seat cover dispensers so that the contents thereof are
                                  reachable within the accessible reach parameters and so that there is an
                                  accessible clear floor space in front;

                      f.          modify each toilet in the “accessible” toilet stalls to have the flush on the
                                  wide side of the toilets;

                      g.          provide coat hooks in the “accessible” toilet stalls which are reachable within
                                  the accessible reach parameters;

                      h.          insulate or configure pipes under sinks / lavatories to prevent burns or other
                                  injuries; and,

                      i.          provide mirrors mounted at the requisite height;

          vi.         modify the public dressing rooms to be accessible, including, failing to:

                      a.          provide the requisite, properly mounted, emergency notification devices
                                  (strobes) in the dressing rooms;

                      b.          provide the requisite offsets / maneuvering clearances at the doors leading
                                  into the “accessible” dressing rooms;

                      c.          provide coat hooks in the “accessible” dressing rooms which are reachable
                                  within the accessible reach parameters;

          vii.        provide an accessible, lowered payment / service counter in each store;

          viii.       provide an accessible, lowered credit card swipe / signing screen within the requisite
                      reach / sight parameters in each store,

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  by January 26, 1992 (or January 26, 1993 if Defendant has 10 or fewer employees and gross receipts

  of $500,000 or less).

           18.         Plaintiff’s members have sought and have been, continue to be, and in the future will,

  be denied access to the benefits of services, programs and activities of the building and its facilities,

  and have otherwise been discriminated against and damaged by Defendant, because of Defendant’s

  ADA violations set forth above, and will continue to suffer such discrimination, injury and damage

  without the relief provided by the ADA as requested herein. The claims asserted herein do not

  require the participation of each individual member.

           19.         Any and all requisite notice, if required, has been provided. Furthermore, such notice

  is not required as a result of Defendant’s failure to cure the violations by January 26, 1992 (or

  January 26, 1993 if Defendant has 10 or fewer employees and gross receipts of $500,000 or less).

           20.         Plaintiff has been obligated to retain undersigned counsel for the filing and

  prosecution of this action, and has agreed to pay its counsel reasonable attorneys’ fees, including

  costs and litigation expenses, incurred in this action. Plaintiff is entitled to recover those attorneys’

  fees, litigation expenses and costs from Defendant pursuant to 42 U.S.C. §12205.

           21.         Pursuant to 42 U.S.C. 12188, the Court is provided authority to grant Plaintiff

  injunctive relief including an order requiring Defendant to alter the subject facilities to make them

  accessible to and useable by individuals with disabilities to the extent required by the ADA.

           WHEREFORE, Plaintiff respectfully requests that the Court find that the Defendant has

  been and continues to be in violation of the ADA and discriminating against Plaintiff and its

  members, issue a permanent injunction enjoining Defendant from continuing its discriminatory

  practices, ordering Defendant to alter the subject premises as appropriate to comply with the ADA,


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  awarding Plaintiff its attorneys’ fees, litigation expenses and costs incurred in this action, and

  retaining jurisdiction to assure Defendant’s subsequent compliance with the ADA and protect against

  similar subsequent discrimination by Defendant.

                                                                                  WILLIAM N. CHAROUHIS & ASSOCIATES, PA
                                                                                  Attorneys for Plaintiff

                                                                                  By:      s / William Nicholas Charouhis
                                                                                        William N. Charouhis, Esquire
                                                                                         Florida Bar No. 510076
                                                                                         Suite 1750 • Brickell Bayview Centre
                                                                                         Eighty Southwest Eighth Street
                                                                                         Miami, Florida 33130
                                                                                         Telephone: 786.279.5707
                                                                                         Facsimile: 305.377.8416


                                                                                  Dated:     March 24, 2011


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